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                                             June 18, 2019

VIA EMAIL
Asher Gulko, Esq.
        Counsel for Eve, LLC (via ECF)
Sol Mayer, defendant pro se (via ECF and Email)
Eli Verschleiser, defendant pro se (via ECF and Email)
Jacob Frydman, co-plaintiff (via Email)

        Re:     Winter Investors, LLC v. Panzer, et al. 14-CV-6852 (KPF) (SDA)

Gentlemen:

         I am counsel for Winter Investors, LLC and I am writing to you on behalf of Winter and co-
plaintiff Frydman concerning the scheduling of the Pre-Trial Conference.

       As you know, the Court has requested the parties to confer and agree regarding the
preparation of the Pre-Trial Conference Checklist prescribed by the Court’s Rules, and, in that
connection to agree on scheduling those matters pertinent to the Conference Order, including
among other things, deadlines, discovery, motions, completion of factual inquiries and date for the
Inquest before the Magistrate. I suggest that this Pre-Trial Conference be scheduled for July 9, 2019.

        Given the substantial issues and damages as well as the fact that some of the defendants
have not produced any discovery or been deposed, I suggest that the Final Pre-Trial Conference
date be scheduled for the week of August 12, 2019.

        Unless I hear back from you by phone or email by 5:00 p.m. on June 20, 2019, I will assume
that you agree with this proposal.

                                               Sincerely,

                                         s/David H. Relkin
                                            David H. Relkin
Via ECF and Email:
'Asher Gulko' <Asher@gulkoschwed.com>; 'Solomon Mayer' <sm5008@outlook.com>; Eli Verschleiser
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